       Case 1:11-cr-00354-JLT Document 396 Filed 10/25/13 Page 1 of 3
                                                                             (SPACE BELOW FOR FILING STAMP ONLY)
 1
           MARK W. COLEMAN #117306
 2          NUTTALL & COLEMAN
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 3                   PHONE (559) 233-2900
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 4

 5
     ATTORNEYS FOR Defendant,
 6
                    MANUEL ALEJANDRO GARCIA
 7

 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                                 ******
11   UNITED STATES OF AMERICA,                            CASE NO.: 11-CR-00354 LJO

12                   Plaintiff,
                                                                STIPULATION TO CONTINUE
13          v.                                                        SENTENCING
                                                                          AND
14
     MANUEL ALEJANDRO GARCIA, et al.,                                   ORDER
15
                     Defendant.
16

17          TO:      THE       UNITED         STATES    DISTRICT       COURT;       UNITED          STATES
18   ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:
19
            IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
20
     clients that the Sentencing hearing currently on calendar for November 19, 2013, at 8:30 a.m.,
21
     be continued to December 16, 2013, at 8:30 a.m., or as soon thereafter as is convenient to the
22
     court’s calendar.
23
            IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
24

25   objections to the Pre-Sentence Investigation Report be scheduled as follows:

26                   Informal Objections to be served on or before November 25, 2013.

27                   Formal Objections to be filed on or before December 9, 2013.

28
                                                         1
                                        STIPULATION TO CONTINUE SENTENCING
                           Case 1:11-cr-00354-JLT Document 396 Filed 10/25/13 Page 2 of 3
 1                             This continuance is requested by counsel for Defendant, MANUEL ALEJANDRO

 2   GARCIA, due to the fact that counsel needs additional time to file informal objections to the
 3   Probation Report.
 4
                               Specifically, Probation has recommended a two-level increase for a weapon. Defendant
 5
     disputes that a weapon was involved in the transaction. Counsel for Defendant has been
 6
     working with the Assistant United States Attorney to see whether a resolution could be
 7
     reached. It does not appear that the parties will be able to agree on a resolution.
 8
                               It is necessary for Counsel for Defendant to continue to review the discovery in order to
 9
     isolate portions of the discovery which include reports and audio recordings of the alleged
10

11   conversations in order to prepare the informal objections, along with appropriate evidence. The

12   discovery in this case contains over 25,000 pages.

13                             Counsel for Defendant has spoken with Assistant U. S. Attorney, KIMBERLY

14   SANCHEZ, who has no objection to this continuance.
15   Dated: October 24, 2013.                                Respectfully Submitted,
16                                                           NUTTALL & COLEMAN

17                                                           /s/ Mark W. Coleman
                                                             MARK W. COLEMAN
18                                                           Attorney for Defendant,
                                                             MANUEL ALEJANDRO GARCIA
19
     Dated: October 24, 2013.                                UNITED STATES ATTORNEY’S OFFICE
20
                                                             /s/ Kimberly Sanchez
21
                                                             KIMBERLY SANCHEZ
22                                                           Assistant U.S. Attorney
                                                                 *******
23
                                                                 ORDER
24                             Granted, but no further continuances.
                                                                    ______________________
25
     IT IS SO ORDERED.
26

27
                            Dated:   October 25, 2013                         /s/ Lawrence J. O’Neill
     DEAC_Signature-END:
                                                                         UNITED STATES DISTRICT JUDGE
28
                                                                       2
                                                      STIPULATION TO CONTINUE SENTENCING
      Case 1:11-cr-00354-JLT Document 396 Filed 10/25/13 Page 3 of 3
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                            STIPULATION TO CONTINUE SENTENCING
